                       UNITED STATES DISTRICT COURT

                            DISTRICT OF HAWAII

UNITED STATES OF AMERICA,              CR. NO. 20-00068 LEK

                    Plaintiff,

        vs.

NICKIE MALI LUM DAVIS,

                    Defendant.


   ORDER DENYING DEFENDANT’S MOTION TO WITHDRAW GUILTY PLEA AND
  MEMORANDUM OF PLEA AGREEMENT, [FILED 10/21/22 (DKT. NO. 117)]

               On October 21, 2022, Defendant Nickie Mali Lum Davis

(“Defendant”) filed her motion seeking to withdraw her plea of

guilty.       See Defendant’s Motion to Withdraw Guilty Plea and

Memorandum of Plea Agreement, filed 10/21/22 (dkt. no. 117)

(“Motion”).      Plaintiff United States of America (“the

Government”) filed its opposition memorandum on November 7,

2022.    See Government’s Response in Opposition to Motion to

Withdraw Guilty Plea, filed 11/7/22 (dkt. no. 124) (“Opp.

Mem.”).       Defendant filed her reply in support of the Motion on

November 15, 2022.      [Dkt. no. 127.]

               After careful consideration of the Motion, the

memoranda filed by the parties, and the relevant legal

authority, the Motion is HEREBY DENIED for the reasons set forth

below.
                             INTRODUCTION

             In the Motion, Defendant states that, “if she had

known about an unavoidable conflict of interest that was not

disclosed to her by former counsel, Abbe D. Lowell,[Esq.

(‘Attorney Lowell’)] and was accompanied by [Attorney] Lowell’s

inadequate and erroneous legal advice, she would not have

entered into the plea.”    [Motion at 1.]   She contends that she

has fair and just reasons for this Court to permit withdrawal of

her guilty plea and recission of her memorandum of plea

agreement with the Government.    Specifically, that Attorney

Lowell had a conflict of interest at the time that he

represented Defendant because he “was being investigated for two

separate criminal matters[,]” which were similar to the offenses

to which she pleaded guilty and involved the same prosecuting

attorneys.    [Mem. in Supp. of Motion at 9.]   Defendant submits

that Attorney Lowell never disclosed that he had a conflict of

personal interest, and that Elliott Broidy, the person about

whom she agreed to cooperate with the government and testify

against, was involved as a possible adverse witness or co-

conspirator vis-à-vis Attorney Lowell.      [Id. at 10.]   She also

states that Attorney Lowell “never once advised [Defendant} of

the viability of submitting an appeal to the Office of the

Deputy Attorney General (‘ODAG’) . . . as to why criminal

charges should not be filed against [her].”     [Id. at 12.]   If so

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advised, she contends that her “outcome could have been

significantly different.”   [Id. at 13.]       Finally, she contends

that Attorney Lowell informed her that her cooperation with the

Government and pleading guilty would result in the Government

agreeing not to recommend anything more than probation for her

sentence, which was an important factor to Defendant as she does

not want to be separated from her daughter.       [Id. at 14.]     The

Government’s counsel informed Defendant and her legal team “in

February 2021, that a recommendation for significant jail time

was still on the table for [Defendant]. . . . [and that the

Public Integrity Section’s] policy would never allow them to

agree to [recommend probation].”       [Id.]   Therefore, Defendant

submits that she has been misled by her prior attorney and thus

has a fair and just reason to withdraw her plea and from her

obligations under the memorandum of plea agreement.

           The Government opposes the Motion on the singular

ground that, in direct contrast to Defendant’s rendition of

events, Attorney Lowell was not “under criminal investigation

when he negotiated her plea agreement.”        [Opp. Mem. at 1.]

Rather, in July 2020, during plea negotiations in Defendant’s

case, potential evidence involving Attorney Lowell and others

was discovered by a government filter team but not shared with

the prosecution team in Defendant’s case nor with Attorney

Lowell.   [Id. at 3.]   The filter team then “filed a crime-fraud

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motion seeking authorization to provide the communications to

the prosecution team so that it could address any potential

conflicts with [Attorney] Lowell.”   [Id.]   Attorney Lowell was

advised by the filter team of the crime-fraud motion and “his

potential criminal exposure” on August 26, 2020 and he, in turn,

disclosed this information to his co-counsel, William C.

McCorriston, Esq. and David J. Minkin, Esq., and they advised

Defendant “of the potential conflict of interest.”   [Id. at 4.]

“To memorialize the potential conflict and waiver, the parties

drafted and signed a sealed conflict waiver as an addendum to

the plea agreement.”   [Id. at 4 & n.3 (citing Addendum to Plea

Agreement, filed 8/31/20, ECF No. 16).]

          The Government and Attorney Lowell also dispute

Defendant’s assertions that she was unaware that she might face

a term of imprisonment and that she was induced into pleading

guilty because she believed that the Government would recommend

a term of probation.   The Government points to the terms of the

plea agreement, which state that Defendant acknowledges that the

penalties include a term of imprisonment as well as a term of

supervised release, and that it is the Court who will decide

what is an appropriate sentence to impose in her case.   See id.

at 4-5 & nn.4-5 (citing Def. Memo of Plea Agreement, filed

8/31/20, ECF No. 15 ¶¶ 7.a, 11, 21-22).   Additionally, the

Government submits that Defendant confirmed this understanding

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at her plea hearing and that Court explained its authority to

impose a sentence that might be different from what she expected

or her attorneys may have advised.   See id. at 5-6 & nn.7-9

(citing Trans. of Plea Hearing, filed 10/15/20, ECF No. 21 at

12-15, 17-18, 21).

                            BACKGROUND

           This matter arises out of a criminal prosecution

brought against Defendant by the filing of a felony information

on August 17, 2020.   See Information, filed 8/17/20 (dkt.

no. 1).   Defendant is alleged to have agreed with others “to act

as agents of Foreign National A in exchange for millions of

dollars in undisclosed wire transfers . . . .”   [Id. at ¶ 2.]

Defendant is alleged to have

           specifically agreed to facilitate Person B’s
           lobbying of the President of the United States
           (“the President”), his Administration, and the
           United States Department of Justice (“DOJ”) to
           drop the investigation of Foreign National A for
           his role in the embezzlement of billions of
           dollars from 1Malaysia Development Berhad
           (“IMDB”), a strategic investment and development
           company wholly owned by the Government of
           Malaysia.

[Id.]   The Government alleges that Defendant and others agreed

to work together to lobby the United States:

                On or about May 2, 2017, DAVIS, Person A,
           and Person B arrived in Bangkok. During the
           trip, DAVIS, Person A, and Person B met with
           Foreign National A in a hotel suite. Person B
           and Foreign National A spoke about the lMDB
           investigation and civil forfeiture actions.

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          Person B agreed to help Foreign National A
          attempt to resolve the matter. Foreign
          National A agreed to pay Person B an $8 million
          retainer and wanted Person B to contact the
          Attorney General of the United States to get DOJ
          to drop the lMDB matter. Person B agreed to
          lobby the Administration and DOJ for a favorable
          result for Foreign National A while concealing
          the fact that he was working on Foreign
          National A’s behalf. With respect to payment,
          Person B stated that the money should not come
          directly from Foreign National A and should be
          “clean.” Foreign National A identified a friend
          who could pay Person B and others. Person B,
          Person A, and DAVIS agreed that the money would
          first be routed through Person A and then be paid
          to Person B through Law Firm A. Person B and
          DAVIS agreed that Person B would pay DAVIS thirty
          percent of what Person B received. Person A also
          agreed to pay DAVIS a percentage of the funds
          that Person A received. Person A told Person B
          and DAVIS that Person A’s friend, Higginbotham,
          was verifying the legitimacy of the funds.
          Higginbotham did not actually perform any such
          review.

[Id. at ¶ 33 (emphases in original).]   The Government alleges

that Defendant was paid various amounts for her services,

including “[o]n or about May 18, 2017, Law Firm A transferred

$500,000 to one of Person B’s business accounts and $900,000 to

a business account controlled by [Defendant]”; [id. at ¶39;] on

or about May 26, 2017, “$600,000 was transferred from Law

Firm A’s account to a business account associated with

[Defendant]”; [id. at ¶40;] “Person A also transferred $833,333

to a business account controlled by [Defendant]”; [id. at ¶ 69;]

and “[o]n or about August 10, 2017, Law Firm A transferred



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$900,000 to a business account associated with [Defendant,]”

[id.].

          Defendant is charged with one count of aiding and

abetting an unregistered agent of a foreign principal in

violation of 18 U.S.C. § 2 and 22 U.S.C. §§ 612 and 618(a)(1)

(“Count I”).   [Id. at pg. 37.]

          Defendant made her initial appearance in this matter

on August 31, 2020.    At that time, she waived her right to

proceed by indictment and entered a plea of guilty to the felony

information pursuant to her memorandum of plea agreement with

the Government.   See Minutes - EP: Initial appearance, Waiver of

Indictment, Arraignment & Plea to Felony Information as to

Defendant, Nickie Mali Lum Davis, filed 8/31/20 (dkt. no. 13).

Her legal counsel at the time were Abbe David Lowell, Esq.,

admitted pro hac vice, and William C. McCorriston, Esq. and

David J. Minkin, Esq.    See Motion to Appear Pro Hac Vice, filed

8/25/20 (dkt. no. 6); Order Granting Motion to Appear Pro Hac

Vice, filed 8/27/20 (dkt. no. 10).

          Defendant had been scheduled for sentencing on

October 27, 2022.1    See Minutes, filed 8/5/22 (dkt. no. 94), at




     1 This Court vacated Defendant’s sentencing hearing after
the filing of the instant Motion. See Minute Order - EO: Court
Order Vacating Sentencing Hearing and Setting a Briefing
Schedule for Defendant’s Motion to Withdraw Guilty Plea and
Memorandum of Plea Agreement, filed 10/24/22 (dkt. no. 121).
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PageID.1107.   Defendant filed her sentencing statement, under

seal, on August 22, 2022.   See Defendant’s Sentencing Statement,

filed under seal 8/22/22 (dkt no. 97) (“Sentencing Statement”).

However, she subsequently filed the instant Motion seeking to

withdraw her guilty plea and from the obligations imposed by the

Plea Agreement.

                             STANDARDS

               A defendant may withdraw a plea of guilty
          before sentencing if “the defendant can show a
          fair and just reason for requesting the
          withdrawal.” Fed. R. Crim. P. 11(d)(2)(B).
          Although the defendant has the burden of
          demonstrating a fair and just reason, United
          States v. Davis, 428 F.3d 802, 805 (9th Cir.
          2005), the “fair and just” standard is applied
          liberally. United States v. Bonilla, 637 F.3d
          980, 983 (9th Cir. 2011). “Fair and just” reasons
          for withdrawal include inadequate Rule 11 plea
          colloquies, newly discovered evidence,
          intervening circumstances, or any other reason
          for withdrawing the plea that did not exist when
          the defendant entered his plea. [United States
          v.] McTiernan, 546 F.3d [1160,] 1167 [(9th Cir.
          2008)] (citing Davis, 428 F.3d at 805).
          Erroneous or inadequate legal advice may also
          constitute a fair and just reason for withdrawal
          of a plea. Bonilla, 637 F.3d at 983 (citing
          McTiernan, 546 F.3d at 1167). A defendant who
          moves to withdraw a guilty plea “is not required
          to show that he would not have pled, but only
          that the proper legal advice of which he was
          deprived ‘could have at least plausibly motivated
          a reasonable person in [the defendant’s] position
          not to have pled guilty.’” Bonilla, 637 F.3d at
          983 (quoting United States v. Garcia, 401 F.3d
          1008, 1011–12 (9th Cir. 2005)).

United States v. Yamashiro, 788 F.3d 1231, 1236–37 (9th Cir.

2015) (some alterations in Yamashiro).

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           A district court shall vacate the guilty plea when it

is “‘shown to have been unfairly obtained or given through

ignorance, fear or inadvertence.’”   United States v. Rubalcaba,

811 F.2d 491, 493 (9th Cir. 1987) (quoting Kercheval v. United

States, 274 U.S. 220, 224, 47 S. Ct. 582, 583, 71 L. Ed. 1009

(1927)).   However, “[t]he decision to allow a defendant to

withdraw his plea . . . lies within the discretion of the

district court.”   United States v. Ruiz, 257 F.3d 1030, 1033

(9th Cir. 2001) (en banc) (citation omitted).

           A defendant who moves to withdraw a guilty plea
           before a sentence is imposed is not required to
           show that he would not have pled, but only that
           the proper legal advice of which he was deprived
           “could have at least plausibly motivated a
           reasonable person in [the defendant’s] position
           not to have pled guilty . . . .” United States
           v. Garcia, 401 F.3d 1008, 1011–12 (9th Cir.
           2005). A pre-sentence motion to withdraw a plea
           should be freely allowed if a defendant can show
           a “fair and just reason” for requesting the
           withdrawal. See United States v. Davis, 428 F.3d
           802, 808 (9th Cir. 2005). “Erroneous or
           inadequate legal advice may . . . constitute a
           fair and just reason for plea withdrawal.”
           McTiernan, 546 F.3d at 1167.

Bonilla, 637 F.3d at 983 (alterations in Bonilla).

                            DISCUSSION

           Defendant moves to withdraw her guilty plea prior to

being sentenced and therefore must establish “a fair and just

reason” for doing so.   See Fed. R. Crim P. 11(d)(2)(B).   She

asserts that Attorney Lowell (her primary attorney at the time


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she entered her guilty plea) had an undisclosed conflict of

interest and, as a result, she argues that she was denied

effective assistance of counsel in violation of her Sixth

Amendment right.   See Mem. in Supp. of Motion at 6-10.

               A challenge to a guilty plea based on a
          claim of ineffective assistance of counsel is
          analyzed using a two-part test: “a criminal
          defendant must show that his counsel’s
          performance was deficient, and that this
          deficient performance prejudiced his defense.”
          [Doganiere v. United States, 914 F.2d 165, 168
          (9th Cir. 1990).] Accord Johnson v. Baldwin, 114
          F.3d 835, 837–38 (9th Cir. 1997) (“In order to
          prevail on his claim of ineffective assistance of
          counsel, Albert must show (1) that his counsel’s
          performance, viewed objectively, was outside the
          wide range of professionally competent
          assistance, and (2) that there is a reasonable
          probability that, but for counsel’s
          unprofessional errors, the result of the
          proceeding would have been different”)
          (quotations omitted).

               To show deficient performance, the defendant
          must show that the counsel’s representation fell
          below an objective standard of reasonableness.
          See United States v. Rubalcaba, 811 F.2d 491, 494
          (9th Cir.), cert. denied, 484 U.S. 832, 108 S.
          Ct. 107, 98 L. Ed. 2d 66 (1987). Ineffective
          assistance of counsel occurs when the behavior
          complained of falls below prevailing professional
          norms. United States v. McMullen, 98 F.3d 1155,
          1158 (9th Cir. 1996), cert. denied, 520 U.S.
          1269, 117 S. Ct. 2444, 138 L. Ed. 2d 203
          (1997). . . .

United States v. Modafferi, 112 F. Supp. 2d 1192, 1197–98 (D.

Hawai`i 2000).




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I.   Reasonableness of Counsel’s Challenged Conduct

          The two-part test for a claim of ineffective

assistance of counsel starts with Defendant’s burden to show

that Attorney Lowell’s “representation fell below an objective

standard of reasonableness.”   See Strickland v. Washington, 466

U.S. 668, 688 (1984).   This Court is instructed to “‘judge the

reasonableness of counsel’s challenged conduct on the facts of

the particular case, viewed as of the time of counsel’s

conduct,’ [Strickland, 466 U.S.] at 690, and ‘[j]udicial

scrutiny of counsel’s performance must be highly deferential,’

id., at 689.”   See Roe v. Flores-Ortega, 528 U.S. 470, 477

(2000) (some alterations in Roe).    The Government soundly

rejects Defendant’s rendition of events, and submits Attorney

Lowell’s declaration in support of a finding that plea

negotiations had been completed without any knowledge by him of

the filter team and that there has not been any criminal

investigation of him.   See Opp. Mem., Second Declaration of Abbe

D. Lowell, dated 10/24/22 (“Lowell Decl.”) at ¶¶ 10-11.

          The Court elects not to engage in a fact-finding

mission and conduct a “trial within a trial.”   Rather, the Court

proceeds to analyze the Motion with the presumption that

Attorney Lowell’s conduct fell below an objective standard of




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reasonableness.2    Specifically, it is assumed (for purposes of

this Motion only) that, at the time that he was defending

Defendant and engaging in plea negotiations on her behalf,

Attorney Lowell was being investigated for alleged criminal

conduct similar, if not identical, to the charges currently

pending against Defendant, and by the same attorneys at the

Department of Justice who are involved in prosecuting Defendant.

           According to Defendant, Attorney Lowell never

disclosed that he was being investigated for criminal or civil

violations, nor that these investigations were being done by the

same authorities who were involved in her prosecution.     See

Declaration of Nickie Mali Lum Davis, filed 10/21/22 (dkt.

no. 118) (“Lum Davis Decl.”), at ¶¶ 20-22.

           Attorney Lowell was admitted pro hac vice in the

District of Hawai`i, and thus he was obligated to follow the

Hawai`i Rules of Professional Conduct (“HRPC”).    See Local Rule

LR83.3.   These rules prohibit the representation of a client

where there is a concurrent conflict of interest.    See generally

HRPC Rule 1.7.     This type of conflict exists where “there is a

significant risk that the representation of [a client] will be

materially limited . . . by a personal interest of the lawyer.”


     2 The Court is cognizant that Attorney Lowell has provided
sworn testimony to the contrary and is explicitly not making any
factual finding about Attorney Lowell’s professional conduct as
Defendant’s attorney.
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HRPC Rule 1.7(a)(2).    Even assuming Attorney Lowell did not have

a “direct adversity of interest,” a conflict of interest (under

the facts assumed for purposes of this Motion only) existed

because there was “a significant risk” that his “ability to

. . . recommend, or carry out an appropriate course of action

for the client [was] materially limited as a result of [his]

other responsibilities or interests.”   See HRPC Rule 1.7 cmt.8.

          Notwithstanding the conflict of interest, Attorney

Lowell could continue to represent Defendant if he disclosed the

conflict and obtained her written consent after consultation.

See HRPC Rule 1.7(b)(4).   According to Defendant, Attorney

Lowell did not do so.   See Declaration of David J. Minkin, filed

10/21/22 (dkt. no. 119) (“Minkin Decl.”), at ¶¶ 1-3; Declaration

of William C. McCorriston, filed 10/21/22 (dkt. no. 120)

(“McCorriston Decl.”), at ¶¶ 5-12; 15-17.   Attorney Lowell

states that he disclosed his understanding of the filter team

and what has been referred to as “the FARA letter”3 to Defendant

and Mr. McCorriston.    See Lowell Decl. at ¶ 19.   As stated

previously, the Court will not resolve any conflict in

credibility but will assume, for purposes of this Motion only,

that a complete disclosure was not given and written consent to




     3 “FARA” refers to the Foreign Agents Registration Act, 22
U.S.C. § 611, et seq.
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continued representation was not obtained from Defendant.    Thus,

Defendant did not waive the assumed conflict of interest.

          The argument that Attorney Lowell’s conduct fell below

the standard of reasonableness because he failed to submit an

internal appeal to the Office of the Deputy Attorney General

(“ODAG”) on Defendant’s behalf to avoid an indictment and guilty

plea, see McCorriston Decl. at ¶¶ 18-20, does not hold water.

Defendant argues that no one (other than herself and Elliot

Broidy) had ever been prosecuted for representing a foreign non-

government individual and failing to register under FARA while

representing the interests of a foreign non-government

individual.   See id. at ¶ 19.   Mr. McCorriston postulates that

Attorney Lowell could have submitted an appeal to ODAG on

Defendant’s behalf because it “would have been a prudent action

and a viable option for a possible resolution that could have

avoided an indictment and guilty plea.”   See id. at ¶ 20.

Attorney Lowell’s alleged failure to seek a novel and untested

approach must be given healthy deference by this Court.   Thus,

Defendant cannot demonstrate that Attorney Lowell’s neglect in

failing to advise her about and failing to file an appeal to

ODAG fell below the performance of reasonably effective

assistance considering the circumstances.   See Strickland v.

Washington, 466 U.S. 668, 689 (1984) (“Even the best criminal



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defense attorneys would not defend a particular client in the

same way.” (citation omitted)).

II.   Whether Counsel’s Conduct Prejudiced Defendant

             The Court turns to the second step of the Strickland

test:   whether Defendant has shown “that counsel’s deficient

performance prejudiced the defendant[.]”      Roe, 528 U.S. at 477

(citing Strickland, 466 U.S. at 694).      Under the facts of this

case, to show prejudice, Defendant must demonstrate that “there

is a reasonable probability that, but for [Attorney Lowell’s]

deficient failure . . .,” she would not have entered a guilty

plea.   See id. at 484.   “In certain Sixth Amendment contexts,

prejudice is presumed.    Actual or constructive denial of the

assistance of counsel altogether is legally presumed to result

in prejudice.”    Strickland, 466 U.S. at 692.    In cases where, as

here, there is an actual conflict of interest, there is not a

per se presumption of prejudice.       “Prejudice is presumed only if

the defendant demonstrates that counsel ‘actively represented

conflicting interests’ and that ‘an actual conflict of interest

adversely affected his lawyer’s performance.’”      Id. (quoting

Cuyler v. Sullivan, 446 U.S. 335, 350, 348 (1980) (footnote

omitted)).

             Defendant argues that she would not have agreed to

enter a guilty plea but for Attorney Lowell’s representation

that she would receive a sentence of probation and not be

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sentenced of imprisonment.   [Mem. in Supp. of Motion at 14.]

Attorney Lowell emphatically denies her assertion.   See Lowell

Decl. at ¶ 14.   Nevertheless, even assuming, for purposes of

this Motion only, that the alleged representation was made to

Defendant, the Government thoroughly sets forth the fact that

both the memorandum of plea agreement and the Court’s colloquy

with Defendant at the time that she entered her guilty plea

clearly spelled out that she faced a possible sentence of

incarceration of up to five years, and that Defendant confirmed

her understanding that she could be sentenced to imprisonment by

agreeing to the plea agreement and stating in the affirmative to

questions by the Court.   See Opp. Mem. at 4-6 & nn.4-9 (citing

Def. Memo of Plea Agreement, filed 8/31/20, ECF No. 15 ¶¶ 7.a,

11, 21-22, 29; Trans. of Plea Hearing, filed 10/15/20, ECF

No. 21 at 12-15, 17-18, 21).   Defendant’s reliance, if any, on a

prediction that she would be given a sentence of probation flies

in the face of the hard facts stated in the plea agreement and

during the Court’s colloquy with her: that her possible sentence

included incarceration of up to five years; that the Court is

not bound by the recommendations of the parties and decides her

sentence; and that, even if she did not like the sentence that

the Court imposed, she would not be able to take back her guilty

plea.



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          Defendant thus fails to demonstrate a reasonable

probability that, but for Attorney Lowell’s alleged failure to

warn her that she faces a sentence of imprisonment, she would

not have entered a guilty plea.

                              CONCLUSION

          For the foregoing reasons, Defendant’s Motion to

Withdraw Guilty Plea and Memorandum of Plea Agreement, [filed

10/21/22 (dkt. no. 117),] is DENIED.       Defendant’s sentencing

hearing will proceed on January 18, 2023, at 1:30 p.m.

          IT IS SO ORDERED.

          DATED AT HONOLULU, HAWAII, December 9, 2022.




UNITED STATES OF AMERICA VS. NICKIE MALI LUM DAVIS; CR 20-00068
LEK; ORDER DENYING DEFENDANT’S MOTION TO WITHDRAW GUILTY PLEA
AND MEMORANDUM OF PLEA AGREEMENT

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